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                                                                             Jeffrey C. Jackson
                                                                             jeff@jjacksonllp.com




February 11, 2022

Via Electronic Filing
United States District Clerk
515 Rusk Street
Houston, Texas 77002

        Re:    NOTICE OF LIS PENDENS FILING
               Civil Action No. 4:22-cv-00086; Allan Groves, as Trustee v. U.S. Bank, N.A.,
               as Trustee, et al., in the U.S. District Court for the Southern District of Texas,
               Houston Division

Dear Clerk:

        On this date February 11, 2022, a Notice of Lis Pendens was mailed for recording to
the Fort Bend County Clerk’s Office in the above-referenced matter.

       Enclosed, please find an executed copy of the Notice of Lis Pendens attached hereto as
Exhibit A for your reference.

        Should you have any questions or concerns, please give me a call at 713-861-8833.

                                                    Sincerely,

                                                    JEFFREY JACKSON & ASSOCIATES, PLLC

                                                    /s/      Jeffrey C. Jackson
                                                    JEFFREY C. JACKSON
                                                    Texas State Bar No. 24065485
                                                    Federal Admission No. 1024221
                                                    2500 E. TC Jester Boulevard, Suite 285
                                                    Houston, Texas 77008
                                                    713-861-8833 (T)
                                                    713-682-8866 (F)
                                                    jeff@jjacksonllp.com

                                                    ATTORNEYS FOR PLAINTIFF
                                                    ALLAN GROVES, AS TRUSTEE FOR
                                                    THE 1435 CRESCENT OAK TRUST


Encl.
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                                                           EXHIBIT A
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